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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

Chris Register                                      CASE NO.:
5911 High Meadow Street
League City, TX 77573                               JUDGE:

        Plaintiff,
                                                       COMPLAINT FOR DAMAGES
v.                                                  UNDER THE FAIR DEBT COLLECTION
                                                       PRACTICES ACT AND OTHER
Professional Recovery Services, Inc.                       EQUITABLE RELIEF
221 Laurel Road
Suite 350
Voorhees, NJ 08043                                     JURY DEMAND ENDORSED HEREIN

        Defendant.


                                  JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper in this district because this is the judicial

     district where all of the events giving rise to the cause of action took place.

                                FACTS COMMON TO ALL COUNTS

2. The Plaintiff is a person who incurred a consumer debt primarily for personal, family or

     household purposes.

3. Defendant is a corporation doing business primarily as a consumer debt collector.

4. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

5. The Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

6. The debt in question qualifies as a “debt” as defined by 15 U.S.C. §1692a(5).

7. Defendant is either the holder of the debt or was retained by the current holder to collect the

     debt.

8. Plaintiff filed this claim within the timeframe permitted under the FDCPA.




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9. Throughout January 2008 and February 2008, Defendant telephoned Plaintiff several times.

10. During several of these communications, Defendant spoke to Plaintiff is an abusive,

   belligerent, and/or oppressive manner.

11. During one of these communications, on or around February 24, 2008, Defendant referred to

   Plaintiff as a “[expletive] idiot”.

12. During this communication, Defendant represented to Plaintiff that, unless Plaintiff paid the

   debt, Defendant would contact Plaintiff at his place of employment.

13. During this communication, Defendant represented to Plaintiff that Defendant wanted to

   embarrass Plaintiff at his place of employment.

14. During this communication, Defendant told Plaintiff that Defendant would like to inflict

   physical injury to Plaintiff.

15. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

16. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

17. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

18. The Defendant violated 15 U.S.C. §1692d in that defendant used obscene and/or abusive

   language during its communications in furtherance of debt collection.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

19. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

20. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

   unconscionable means to collect a debt.




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                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

21. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

22. The Defendant violated 15 U.S.C. §1692d by threatening to use violence or other criminal

    means to harm Plaintiff.

                                           COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

23. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

24. The Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

    conversations with Plaintiff.

                                          JURY DEMAND

25. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

26. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages pursuant to 15

                U.S.C. §1692k and costs, and reasonable attorney’s fees pursuant to 15 U.S.C.

                §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Macey & Aleman, P.C.

                                                By: /s/ Alana Carrion
                                                   Alana Carrion (NJ # 015172006)
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